Case 10-93904-BHL-11        Doc 842      Filed 11/16/11       EOD 11/16/11 16:27:29       Pg 1 of 3




                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                                NEW ALBANY DIVISION

IN RE:                                           :         CASE NO. 10-93904-BHL-11

         EASTERN LIVESTOCK CO., LLC              :
                                                           (Judge Basil H. Lorch III)
               Debtor.                           :

                                            :
                      ___________________________________________

                            NOTICE OF DISCOVERY REQUEST
                      ___________________________________________


TO:      All Counsel of Record

               Please take notice that on November 16, 2011, counsel for The First Bank and

Trust Company ("First Bank"), served its First Set of Interrogatories and First Request for

Production of Documents on Fifth Third Bank. These requests relate to the above-captioned

bankruptcy case and Adversary Proceeding No. 11-59093.



                                                     Respectfully submitted,



                                                     /s/ Daniel J. Donnellon
                                                     Daniel J. Donnellon, pro hac vice
                                                     Stephen A. Weigand, pro hac vice
                                                     FARUKI IRELAND & COX P.L.L.
                                                     201 East Fifth Street, Suite 1420
                                                     Cincinnati, OH 45202
                                                     Telephone: (513) 632-0300
                                                     Telecopier: (513) 632-0319
                                                     Email: ddonnellon@ficlaw.com
                                                             sweigand@ficlaw.com

                                                     Attorneys for The First Bank and Trust
                                                     Company
Case 10-93904-BHL-11           Doc 842       Filed 11/16/11       EOD 11/16/11 16:27:29          Pg 2 of 3




                                   CERTIFICATE OF SERVICE

                  I certify that on the 16th day of November, 2011, I electronically filed the

foregoing Notice of Discovery Request with the Clerk of Courts using the CM/ECF system,

which will send notification of such filing to CM/ECF participants, and I hereby certify that I

have mailed by United States Postal Service the document to the non-CM/ECF participants:



David L. Abt                        Robert Hughes Foree               Jessica E. Yates
davidabt@mwt.net                    robertforee@bellsouth.net         jyates@swlaw.com

C.R. Bowles, Jr                     Kim Martin Lewis                  John Huffaker
crb@gdm.com                         kim.lewis@dinslaw.com             john.huffaker@sprouselaw.com

John Hunt Lovell                    Jeremy S Rogers                   Matthew J. Ochs
john@lovell-law.net                 Jeremy.Rogers@dinslaw.com         matt.ochs@moyewhite.com

Mark A. Robinson                    Ivana B. Shallcross               Laura Day Delcotto
mrobinson@vhrlaw.com                ibs@gdm.com                       ldelcotto@dlgfirm.com

Jeffrey R Erler                     Deborah Caruso                    Kelly Greene McConnell
jeffe@bellnunnally.com              decaruso@daleek.com               lisahughes@givenspursley.com

Edward M King                       Meredith R. Thomas                T. Kent Barber
tking@fbtlaw.com                    mthomas@daleeke.com               kbarber@dlgfirm.com

Randall D. LaTour                   William Robert Meyer, II          Ross A. Plourde
rdlatour@vorys.com                  rmeyer@stites.com                 ross.plourde@mcafeetaft.com

John R. Carr, III                   Allen Morris                      Walter Scott Newbern
jrciii@acs-law.com                  amorris@stites.com                wsnewbern@msn.com

James M. Carr                       Charles R. Warton                 Kirk Crutcher
jim.carr@bakerd.com                 Charles.R.Wharton@usdoj.gov       kcrutcher@mcs-law.com

Robert K. Stanley                   James Bryan Johnston              Todd J. Johnston
robert.stanley@bakerd.com           bjtexas59@hotmail.com             tjohnston@mcjllp.com

Terry E. Hall                       James T. Young                    Timothy T. Pridmore
terry.hall@bakerd.com               james@rubin-levin.net             tpridmore@mcjllp.com

Dustin R. DeNeal                    David L. LeBas                    Theodore A Konstantinopoulos
dustin.deneal@bakerd.com            dlebas@namanhowell.com            ndohbky@jbandr.com

John Frederick Massouh              Judy Hamilton Morse               Karen L. Lobring
john.massouh@sprouselaw.com         judy.morese@crowedunlevy.com      lobring@msn.com

John W. Ames                        John M. Thompson                  Sandra D. Freeburger
jwa@gdm.com                         john.thompson@crowedunlevy.com    sfreeburger@dsf-atty.com




                                                      2
Case 10-93904-BHL-11           Doc 842    Filed 11/16/11       EOD 11/16/11 16:27:29        Pg 3 of 3



Lisa Kock Bryant                  William E Smith                   Kent A Britt
courtmail@fbhlaw.net              wsmith@k-glaw.com                 kabritt@vorys.com

Elliott D. Levin                  Susan K. Roberts                  Joshua N. Stine
robin@rubin-levin.net             skr@stuartlaw.com                 jnstine@vorys.com
edl@trustesoultions.com
                                  James Edwin McGhee                Jill Zengler Julian
John M. Rogers                    mcghee@derbycitylaw.com           Jill.Julian@usdoj.gov
johnr@rubin-levin.net
                                  Thomas C Schere                   Jeffrey L. Hunter
John David Hoover                 tscherer@binghammchale.com        jeff.hunter@usdoj.gov
jdhoover@hovverhull.com
                                  David A. Laird                    Amelia Martin Adams
Sean T. White                     david.laird@moyewhite.com         aadams@gldfirm.com
swhite@hooverhull.com
                                  Jerald I. Ancel                   Michael Wayne Oyler
Robert H. Foree                   jancel@taftlaw.com                moyler@rwsvlaw.com
robertforee@bellsouth.net
                                  Jeffrey J. Graham                 Jason W. Cottrell
Sarah Stites Fanzini              jgraham@taftlaw.com               jwc@stuartlaw.com
sfanzini@hopperblackwell.com
                                  Trevor L. Earl                    Robert A. Bell
Michael W. McClain                tearl@rwsvlaw.com                 rabell@vorys.com
mike@kentuckytrial.com
                                  David Alan Domina
                                  dad@dominalaw.com


                                                        /s/ Daniel J. Donnellon
                                                        Daniel J. Donnellon


575808.1




                                                  3
